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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                               DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                           Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                       Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
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                                                      13
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                                                                                                                   Adversary Case No.
                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,
                                                      17   v.
                                                      18   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      19
                                                                                Defendant.
                                                      20

                                                      21                                      ADVERSARY COMPLAINT
                                                      22            Plaintiff HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                      23   INTERNATIONAL SP (“Plaintiff” or “HASelect”), by and through its counsel, Shea Larsen PC,
                                                      24   hereby claims and alleges against Defendant TECUMSEH–INFINITY MEDICAL RECEIVABLES
                                                      25   FUND, LP (“Defendant” or “Tecumseh”) as follows:
                                                      26                                              PARTIES
                                                      27            1.   Plaintiff HASelect is, and was at all relevant times, a segregated portfolio company
                                                      28   of HedgeACT International SPC Ltd., a Cayman Islands corporation, with its principal place of


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                                                       1
                                                           business in Illinois.
                                                       2
                                                                   2.      On information and belief, Defendant Tecumseh is, and was at all relevant times, a
                                                       3
                                                           Delaware limited partnership.
                                                       4
                                                                                              JURISDICTION AND VENUE
                                                       5
                                                                   3.      This Adversary Complaint, and the claims herein, are brought pursuant to Bankruptcy
                                                       6
                                                           Rule 7001 seeking an order, judgment, and decree from this Court determining the validity, priority,
                                                       7
                                                           and extent of any lien claim asserted by Defendant against certain property of the Debtor’s estate.
                                                       8
                                                                   4.      This Court has jurisdiction over this Adversary Proceeding pursuant to 28 U.S.C. §§
                                                       9
                                                           157 and 1334 and 11 U.S.C. §§ 105 and 506. This is a core proceeding pursuant to 28 U.S.C. § 157.
                                                      10
                                                           Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                      11
                                                                                               GENERAL ALLEGATIONS
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                                                      12
                                                                   5.      Beginning in February 2019, HASelect made several loans to Debtor Infinity Capital
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                                                           Management, Inc. (“Debtor” or “Infinity”) that were document through various written loan
                                                      14
                                                           agreements and promissory notes through which Infinity pledged all of its personal property to
                                                      15
                                                           HASelect as collateral for such loans.
                                                      16
                                                                   6.      HASelect perfected its security interest in all of Infinity’s personal property through
                                                      17
                                                           the filing of a UCC-1 with the Nevada Secretary of State on February 19, 2019.
                                                      18
                                                                   7.      On or about December 18, 2019, HASelect, which was then doing business under the
                                                      19
                                                           name HASelect-FTM Medical Receivables Litigation Finance Fund SP, and Infinity entered into a
                                                      20
                                                           Second Amended & Restated Loan and Security Agreement and Promissory Note (together with all
                                                      21
                                                           related loan documents, the “MLA”).
                                                      22
                                                                   8.      The MLA superseded and restated all prior loans made by HASelect to Infinity as
                                                      23
                                                           well as extended further credit to Infinity.
                                                      24
                                                                   9.      HASelect holds a perfected security interest in all of Infinity’s personal property (as
                                                      25
                                                           defined in § 4.1 of the MLA, the “Collateral”). Specifically, Section 4.1 of the MLA states:
                                                      26
                                                                   To secure the payment and performance when due of all of the Borrower’s
                                                      27           obligations hereunder and under the Note, Borrower hereby grants to Lender a
                                                                   security interest in the Receivables and the Alternative Receivables, and all of its
                                                      28           other personal property, including without limitation, all of Borrower’s interest in the


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                                                       1          following, whether now owned or hereafter acquired, and wherever located, but
                                                                  excluding the Permitted Liens: All Goods, Inventory, Equipment, Fixtures,
                                                       2          Accounts, General Intangibles, Instruments, Chattel Paper, Documents, Commercial
                                                                  Tort Claims, Investment Property, Letter of Credit Rights, Deposit Accounts, and all
                                                       3          money, and all other property now or at any time in the future in Lender’s possession
                                                                  (including claims and credit balances), and all proceeds (including proceeds of any
                                                       4          insurance policies, proceeds of proceeds and claims against third parties), all products
                                                                  and all books and records related to any of the foregoing (all of the foregoing,
                                                       5          together with all other property in which Lender may now or in the future be granted
                                                                  a lien or security interest, is referred to herein, collectively, as the “Collateral”).
                                                       6
                                                                  10.     Infinity used the proceeds of the loans it obtained from HASelect to purchase
                                                       7
                                                           accounts receivable from medical providers.
                                                       8
                                                                  11.     Such accounts receivable generally arose from medical treatment provided to
                                                       9
                                                           individuals who were injured in accidents and had asserted personal injury claims. These accounts
                                                      10
                                                           receivable are generally secured by liens against these personal injury claims and are typically paid
                                                      11
                                                           at the time the personal injury claims are settled.
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                                                      12
                                                                  12.     HASelect holds a perfected security interest in all accounts receivable purchased by
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                                                           Infinity as Collateral for the indebtedness owed by Infinity under the MLA.
                                                      14
                                                                  13.     On or about June 18, 2020, Infinity entered into a Sub-Advisory Agreement with
                                                      15
                                                           Defendant Tecumseh under which Infinity agreed, among other things, to “assist [Tecumseh] in
                                                      16
                                                           acquiring an interest in medical receivables in connection with personal injury cases in the U.S.”
                                                      17
                                                           and to provide collection services related to such receivables.
                                                      18
                                                                  14.     HASelect is informed and believes that Tecumseh had actual knowledge of the MLA
                                                      19
                                                           and of HASelect’s security interest in the Collateral prior to the execution of the Sub-Advisory
                                                      20
                                                           Agreement.
                                                      21
                                                                  15.     Subsequent to the execution of the Sub-Advisory Agreement, Infinity continued to
                                                      22
                                                           purchase accounts receivable from various medical providers.
                                                      23
                                                                  16.     Subsequent to the execution of the Sub-Advisory Agreement, Infinity and Tecumseh
                                                      24
                                                           entered into dozens of substantially similar Assignment and Bill of Sale agreements (the
                                                      25
                                                           “Assignments”) by which Infinity periodically sold and assigned to Tecumseh certain accounts
                                                      26
                                                           receivable that Infinity had purchased from medical providers (the “Disputed Accounts”).
                                                      27
                                                                  17.     HASelect is informed and believes that the Disputed Accounts include approximately
                                                      28


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                                                       1
                                                           19,000 accounts receivable that Infinity purchased at a cost of in excess of $10 million.
                                                       2
                                                                  18.     HASelect is informed and believes that, notwithstanding the sale and assignment of
                                                       3
                                                           the Disputed Accounts to Tecumseh, Infinity did not provide any notice of such sale and assignment
                                                       4
                                                           to any of the obligors responsible for payment of the Disputed Accounts and continues to collect
                                                       5
                                                           payment on the Disputed Accounts in its own name.
                                                       6
                                                                  19.     HASelect is informed and believes that, upon collection of payment on the Disputed
                                                       7
                                                           Accounts, Infinity deposits such payments directly to a bank account held in the name of Tecumseh.
                                                       8
                                                                  20.     HASelect is informed and believes that Infinity has, to date, collected in excess of
                                                       9
                                                           $1,200,000 on the Disputed Accounts and has transferred such funds to Tecumseh.
                                                      10
                                                                  21.     HASelect is informed and believes that the current value of the uncollected Disputed
                                                      11
                                                           Accounts is in excess of $22 million.
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                                                      12
                                                                  22.     HASelect holds a perfected security interest in all of the Disputed Accounts and all
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                                                           proceeds of the Disputed Accounts as Collateral for the indebtedness owed by Infinity under the
                                                      14
                                                           MLA.
                                                      15
                                                                  23.     The Disputed Accounts constitute “accounts” as that term is defined under the
                                                      16
                                                           Uniform Commercial Code as adopted in Nevada (and elsewhere) (the “UCC”) and as specifically
                                                      17
                                                           set forth at NRS 104.9102(1)(b).
                                                      18
                                                                  24.     The term “security interest” as defined under the UCC and as specifically set forth
                                                      19
                                                           at NRS 104.91201(ii) includes “any interest of … a buyer of accounts”.
                                                      20
                                                                  25.     The term “debtor” as defined under the UCC and as specifically set forth at NRS
                                                      21
                                                           104.9102(1)(bb) includes a “seller of accounts”.
                                                      22
                                                                  26.     The term “collateral” as defined under the UCC and as specifically set forth at NRS
                                                      23
                                                           104.9102(1)(l) includes “[a]ccounts … that have been sold”.
                                                      24
                                                                  27.     To perfect any interest it claims in the Disputed Accounts, Tecumseh was required,
                                                      25
                                                           pursuant to NRS 104.9910(1), to file a UCC-1 financing statement.
                                                      26
                                                                  28.     Tecumseh did not file any UCC-1 financing statement to perfect any interest it claims
                                                      27
                                                           in the Disputed Accounts.
                                                      28


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                                                       1
                                                                  29.     On September 14, 2021 (the “Petition Date”), Infinity filed a voluntary Chapter 7
                                                       2
                                                           bankruptcy petition with this Court, commencing Bankruptcy Case No. 21-14486-abl.
                                                       3
                                                                  30.     Because Tecumseh did not perfect any interest it claims in the Disputed Accounts
                                                       4
                                                           through the filing of a UCC-1 financing statement, the Disputed Accounts remain property of
                                                       5
                                                           Infinity’s bankruptcy estate pursuant to NRS 104.9318(2), which provides that “[f]or purposes of
                                                       6
                                                           determining the rights of creditors of, and purchasers for value of an account or chattel paper from,
                                                       7
                                                           a debtor that has sold an account or chattel paper, while the buyer’s security interest is unperfected,
                                                       8
                                                           the debtor has rights and title to the account or chattel paper identical to those the debtor sold.”
                                                       9
                                                                  31.     Any interest Tecumseh claims in any of the Disputed Accounts is subordinate and
                                                      10
                                                           subject to HASelect’s prior, perfected security interest in the Disputed Accounts.
                                                      11
                                                                  32.     HASelect did not consent to or receive notice of Infinity’s sale and assignment of the
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                                                      12
                                                           Disputed Accounts to Tecumseh.
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                                                                  33.     The sale and assignment of the Disputed Accounts to Tecumseh was done in violation
                                                      14
                                                           of HASelect’s prior, perfected security interest in the Disputed Accounts and HASelect’s rights
                                                      15
                                                           under the MLA.
                                                      16
                                                                  34.     As of the Petition Date, Infinity owed total indebtedness in excess of $14 million to
                                                      17
                                                           HASelect pursuant to the MLA. Moreover, the total indebtedness owed pursuant to the MLA
                                                      18
                                                           continues to increase as additional interest, default interest, late fees, and other amounts owed
                                                      19
                                                           pursuant to the MLA accrue.
                                                      20
                                                                                              FIRST CAUSE OF ACTION
                                                      21
                                                                                                    (Declaratory Relief)
                                                      22
                                                                  35.     HASelect incorporates the allegations set forth in the other sections of this Adversary
                                                      23
                                                           Complaint as if set forth at length herein.
                                                      24
                                                                  36.     A dispute exists between HASelect and Tecumseh that is ripe for adjudication as to
                                                      25
                                                           the priority of their respective claimed interests in the Disputed Accounts.
                                                      26
                                                                  37.     HASelect is entitled to a declaration that (i) it holds a perfected security interest in
                                                      27
                                                           the Disputed Accounts pursuant to the MLA, (ii) any interest Tecumseh claims in any of the Disputed
                                                      28


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                                                       1
                                                           Accounts is subordinate and subject to HASelect’s prior, perfected security interest in the Disputed
                                                       2
                                                           Accounts, (iii) any interest Tecumseh claims in any of the Disputed Accounts was unperfected as of
                                                       3
                                                           the Petition Date, and (iv) HASelect is entitled to immediate possession of the Disputed Accounts
                                                       4
                                                           and all proceeds thereof.
                                                       5
                                                                   38.     HASelect has been required to engage the services of an attorney to bring this claim
                                                       6
                                                           and is entitled to recover its reasonable costs, attorney fees, and interest.
                                                       7
                                                                                             SECOND CAUSE OF ACTION
                                                       8
                                                                                                     (Injunctive Relief)
                                                       9
                                                                   39.     HASelect incorporates the allegations set forth in the other sections of this Adversary
                                                      10
                                                           Complaint as if set forth at length herein.
                                                      11
                                                                   40.     HASelect is informed and believes Defendant Tecumseh is in possession of or is
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                                                      12
                                                           exercising control over the Disputed Accounts.
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                                                      13
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                                                                   41.     The Disputed Accounts constitute Collateral under the MLA in which HASelect
                                                      14
                                                           holds a first-priority security interest that is superior to any interest Tecumseh may hold in the
                                                      15
                                                           Disputed Accounts.
                                                      16
                                                                   42.     HASelect has a substantial likelihood of success on the merits of its declaratory relief
                                                      17
                                                           claim against Defendant Tecumseh.
                                                      18
                                                                   43.     HASelect will suffer irreparable harm in the event Tecumseh is permitted to collect,
                                                      19
                                                           transfer, or otherwise dispose of the Disputed Accounts prior to the adjudication of HASelect’s claim
                                                      20
                                                           for declaratory relief.
                                                      21
                                                                   44.     The threatened harm to HASelect if Defendant Tecumseh is permitted to collect,
                                                      22
                                                           transfer, or otherwise dispose outweighs any potential harm to Tecumseh that may result from the
                                                      23
                                                           entry of a preliminary injunction prohibiting Tecumseh from collecting, transferring, or otherwise
                                                      24
                                                           disposing of the Disputed Accounts.
                                                      25
                                                                   45.     Public policy supports granting injunctive relief to protect the rights of a secured
                                                      26
                                                           creditor with a prior, perfected security interest, such as HASelect, over the rights of a secured
                                                      27
                                                           creditor, such as Tecumseh.
                                                      28


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                                                       1
                                                                     46.    HASelect is entitled to entry of a preliminary injunction prohibiting Tecumseh from
                                                       2
                                                           collecting, transferring, or otherwise disposing of the Disputed Accounts.
                                                       3
                                                                     47.    HASelect has been required to engage the services of an attorney to bring this claim
                                                       4
                                                           and is entitled to recover its reasonable costs, attorney fees, and interest.
                                                       5
                                                                                                 REQUEST FOR RELIEF
                                                       6
                                                                     WHEREFORE, HASelect respectfully requests that the Court grant the following relief:
                                                       7
                                                                     1.     Entry of a declaratory judgment determining that (i) HASelect holds a perfected
                                                       8
                                                           security interest in the Disputed Accounts pursuant to the MLA, (ii) any interest Tecumseh claims
                                                       9
                                                           in any of the Disputed Accounts is subordinate and subject to HASelect’s prior, perfected security
                                                      10
                                                           interest in the Disputed Accounts, (iii) any interest Tecumseh claims in any of the Disputed Accounts
                                                      11
                                                           was unperfected as of the Petition Date, and (iv) HASelect is entitled to immediate possession of the
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                                                      12
                                                           Disputed Accounts and all proceeds thereof;
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                                                      13
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                                                                     2.     Entry of a preliminary injunction prohibiting Tecumseh from collecting, transferring,
                                                      14
                                                           or otherwise disposing of the Disputed Accounts;
                                                      15
                                                                     3.     Entry of judgment awarding HASelect its reasonable attorney fees and costs incurred
                                                      16
                                                           in bringing this action; and
                                                      17
                                                                     4.     Entry of orders providing such other and further relief as the Court deems just and
                                                      18
                                                           proper.
                                                      19
                                                                     Dated this 19th day of October 2021.
                                                      20
                                                                                                            SHEA LARSEN
                                                      21                                                    /s/ Bart K. Larsen, Esq.
                                                                                                            Bart K. Larsen, Esq.
                                                      22                                                    Nevada Bar No. 8538
                                                                                                            1731 Village Center Circle, Suite 150
                                                      23                                                    Las Vegas, Nevada 89134

                                                      24                                                    Attorneys for HASelect-Medical Receivables
                                                                                                            Litigation Finance Fund International SP
                                                      25

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                                                      27

                                                      28


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                                                       1                                 CERTIFICATE OF SERVICE

                                                       2       1.    On October 19, 2021, I served the following document(s): ADVERSARY
                                                                     COMPLAINT
                                                       3
                                                               2.    I served the above document(s) by the following means to the persons as listed
                                                       4             below:

                                                       5             ☒      a.      ECF System:

                                                       6       ROBERT E. ATKINSON
                                                               Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       7
                                                               CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       8       clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                       9       BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                               LLC
                                                      10       birelan@imtexaslaw.com,
                                                               jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
                                                      11
                                                               DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
              1731 Village Center Circle, Suite 150




                                                      12       dmincin@mincinlaw.com, cburke@mincinlaw.com
                   Las Vegas, Nevada 89134
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                                                      13       MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                        (702) 471-7432




                                                               RECEIVABLES FUND, LP
                                                      14       michael.napoli@akerman.com,
                                                               cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                      15       rman.com

                                                      16       TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                               trichards@sagebrushlawyers.com
                                                      17
                                                               ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      18       RECEIVABLES FUND, LP
                                                               ariel.stern@akerman.com, akermanlas@akerman.com
                                                      19
                                                               U.S. TRUSTEE - LV - 7
                                                      20       USTPRegion17.LV.ECF@usdoj.gov

                                                      21       MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                               INC.
                                                      22       mzirzow@lzlawnv.com,
                                                               carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                      23       @notify.bestcase.com

                                                      24             ☐      b.      United States mail, postage fully prepaid:

                                                      25             ☐      c.      Personal Service:

                                                      26             I personally delivered the document(s) to the persons at these addresses:

                                                      27                             ☐       For a party represented by an attorney, delivery was made by
                                                                     handing the document(s) at the attorney’s office with a clerk or other person in
                                                      28             charge, or if no one is in charge by leaving the document(s) in a conspicuous place


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                                                       1             in the office.

                                                       2                             ☐       For a party, delivery was made by handling the document(s)
                                                                     to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                       3             place of abode with someone of suitable age and discretion residing there.

                                                       4             ☐       d.      By direct email (as opposed to through the ECF System):
                                                                     Based upon the written agreement of the parties to accept service by email or a
                                                       5             court order, I caused the document(s) to be sent to the persons at the email
                                                                     addresses listed below. I did not receive, within a reasonable time after the
                                                       6             transmission, any electronic message or other indication that the transmission was
                                                                     unsuccessful.
                                                       7
                                                                     ☐       e.       By fax transmission:
                                                       8
                                                                     Based upon the written agreement of the parties to accept service by fax
                                                       9             transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                     numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      10             of the record of the fax transmission is attached.

                                                      11             ☐       f.       By messenger:
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                                                      12             I served the document(s) by placing them in an envelope or package addressed to
                                                                     the persons at the addresses listed below and providing them to a messenger for
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SHEA LARSEN




                                                      13             service.
                        (702) 471-7432




                                                      14             I declare under penalty of perjury that the foregoing is true and correct.

                                                      15             Dated: October 19, 2021.
                                                                                                      By: /s/ Bart K. Larsen, Esq,
                                                      16

                                                      17

                                                      18

                                                      19

                                                      20

                                                      21

                                                      22

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